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 3              UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 4
 5      UNITED STATES OF AMERICA,
 6                                                              Case No. CR07-5042 RBL
                              Plaintiff,
 7                                                       SUPPLEMENTAL ORDER RE:
                       v.                                ALLEGATIONS OF VIOLATION OF
 8                                                       CONDITIONS OF SUPERVISION BY
        JOSHUA C. McCLELLAND,                            UNITED STATES PRETRIAL
 9                                                       SERVICES
                              Defendant.
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12   THIS MATTER comes on for hearing on the Petition of the United States Pretrial Services Office
     Office alleging that the defendant has violated the conditions of the Appearance Bond supervision as
13   set forth in the Petitions filed by U.S. Pretrial Services

14   The plaintiff appears through Special Assistant United States Attorney, TATE LONDON;
     The defendant appears personally and represented by counsel, RUSSELL LEONARD;
15   The defendant has been advised of the allegation(s)and that he/she could be detained pending
16   resolution of the underlying charges in the Complaint/Indictment/ or Information if found to be in
     violation; maximum potential sanction if substantiated; and
17   The court finding probable cause with regard to the allegation(s); the matter; the court having earlier
18   scheduled this date for hearing on violations 1 and 2, and the defendant asking that the evidentiaary
     hearing be continued due to the filing of supplemental allegations; now therefore, the court continues
19   and reschedules the evidentiary hearing on the following time and date before the Honorable J. K.
     ARNOLD
20                          Date:                 JUNE 20, 2007
21                          Time:                 2:00 P.M.
22   Defendant is ordered detained for failing to show that he/she will not flee or pose a danger to any other
23   person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), and because the court has grave
     concerns regarding the defendant’s ability to be in compliance with the conditions of his bond based
24   on the history of alleged bond violations and the nature of the offense charged. The defendant shall be
     detained until ordered by the court to appear for further proceedings.
25   The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
26   the United States Marshal and to the United States Probation Office and/or Pretrial Services Office.

27                                                        May 22, 2007.

28                                                        /s/ J. Kelley Arnold _________________
                                                          J. Kelley Arnold, U.S. Magistrate Judge

     ORDER
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